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PS 42 " ii rm la
(Rcv 'H’~JJ)

United States District Court

Western District of Tennessee

 

United States of America

)
)
vs ) `/
)
Charlotte Shanell Crawford ) Case No. 04-20464-002»D / 04-20471-003-1)
CONSENT TO MODIFY CONDITIONS OF RELEASE

 

I, Charlotte Shanell Crawford, have discussed With Jake N. Bookard II, Pretrial Services
Ot`:t`icer, modification of my release conditions as follows:

1. Electronic Monitoring with home detention conditions to be determined by the U.S.
Probatioanretrial Services Ot`t'ice

2. No contact directly or indirectly with co-defendants

3. Defendant is allowed to travel With children to and from Le Bonheur Children’s Medical
Center, Memphis, TN, for blood transfusions. Defendant is allowed to stay with children
during procedure

Iconsent to this modification of my release conditions and agree to abide by this modification

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Signature of Defendan£ ace Pr trial ServicesfProbation Oft'lcer Date

l have reviewed the conditions with my client and concur that this modification is appropriate :_-T

/"""”_ 5/¢4/0!’

_/ .
Signature of Def`ense Counsel Date

[f-}»"Ftre above modification of conditions of release is ordered, to be effective on 5»-/?41/_

[ ] The above modification of conditions of release is n_ot ordered.

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ignature of Judicia| Ot`t`icer Date

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

